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 6   Attorney for Plaintiff
 7
                                  UNITED STATES DISTRICT COURT
 8

 9                                        DISTRICT OF NEVADA

10   PATRICIA ARELLANO, an individual, on                    Case No.: 2:15-cv-01424-JAD-NJK
     behalf of herself and those similarly situated;
11
                    Plaintiffs,
12                                                           NOTICE OF PENDING SETTLEMENT
13   vs.

14   CLARK COUNTY COLLECTION SERVICE,
     LLC, a Nevada limited liability company, and
15   BORG LAW GROUP, LLC a Nevada limited
     liability company
16

17                  Defendants.

18
            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
19
            Notice is hereby given that Plaintiff PATRICIA ARELLANO and Defendants CLARK
20
21   COUNTY COLLECTION SERVICE, LLC and BORG LAW GROUP, LLC, have reached a

22   settlement and are in the process of drafting and executing documents to that effect.

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 1           The parties anticipate that a request for dismissal will be filed within the next sixty (60)
 2   days.
 3
             DATED this 21st day of September 2018.
 4
                                                          GESUND & PAILET, LLC
 5

 6                                                        /s/ Keren E. Gesund, Esq.
 7                                                        KEREN E. GESUND, ESQ.
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